                                                    UNITED STATES BANKRUPTCY COURT
                                                      EASTERN DISTRICT OF MICHIGAN


IN RE:     IAN S. KERR,                                                           CASE NO. 13-51561-MBM
                                                                                  CHAPTER 13
           S.S.# XXX-XX-2075_____                                                 JUDGE Marci B. McIvor
                  Debtor

and                                                                                                       PLAN SUMMARY

           HEATHER A. KERR                                                                         For informational purposes only.

           S.S.# XXX-XX-5389_____                                                        ACP: ___60___ Months
                  Joint-Debtor                                                           Minimum Plan Length: __60__ Months
                                                                                         Plan payment: $5,500.00 per Month
                        Debtor(s)                                                        Minimum dividend to Class 9 Creditors:
__________________________________/                                                              $136,151.32___
                                                                                         Percentage of Tax Refunds committed             100    %



                                                               CHAPTER 13 PLAN

            [ ] Original          OR      [ X ] Pre-Confirmation Modification # __1___      [ ] Post-Confirmation Modification #_____

                                               NOTICE TO CREDITORS:
      YOUR RIGHTS MAY BE AFFECTED. THIS PLAN MAY BE CONFIRMED AND BECOME BINDING WITHOUT FURTHER NOTICE OR
                                HEARING UNLESS A TIMELY WRITTEN OBJECTION IS FILED.
                        READ THIS DOCUMENT CAREFULLY AND SEEK THE ADVICE OF AN ATTORNEY.

I.         STANDARD MODEL PLAN; INCORPORATION OF ADDITIONAL TERMS, CONDITIONS AND PROVISIONS; ALTERATIONS
           NOTED:

           A.         THIS PLAN IS SUBJECT TO AND INCORPORATES BY REFERENCE THE ADDITIONAL TERMS, CONDITIONS AND
                      PROVISIONS WHICH MAY BE FOUND AT WWW.13EDM.COM or WWW.MIEB.USCOURTS.GOV.

                      INTERESTED PARTIES MAY ALSO OBTAIN A WRITTEN COPY OF THE ADDITIONAL TERMS, CONDITIONS AND
                      PROVISIONS APPLICABLE TO CHAPTER 13 PLANS FROM DEBTOR’S COUNSEL UPON WRITTEN REQUEST.

           B.         This Plan conforms in all respects to the Standing Chapter 13 Trustees’ Model Plan which is referenced in Administrative
                      Order 12-05 issued by the U.S. Bankruptcy Court for the Eastern District of Michigan. Those sections of this Plan that vary
                      from the Model Plan are listed in this paragraph (any alterations not stated in this section are void):
                      _Part V.D.___________________________________________________________________________________________
                      _____________________________________________________________________________________________

II.        APPLICABLE COMMITMENT PERIOD; PLAN PAYMENTS; PLAN LENGTH; EFFECTIVE DATE AND ELIGIBILITY FOR
           DISCHARGE:

           A.   ■ Debtor’s Current Monthly Income exceeds the applicable State median income. Debtor’s Applicable Commitment Period is 60
                months. Debtor’s Plan Length shall be 60 months from the date of entry of the Order Confirming Plan.

                □ Debtor’s Current Monthly Income is less than or equal to the applicable State median income. Debtor’s Applicable Commitment
                Period is 36 months. Debtor’s Plan Length shall be ____ months from the date of entry of the Order Confirming Plan. This is a
                minimum Plan length. If the Plan has not been completed in the minimum Plan length, the Plan length shall be extended as
                necessary for completion of the requirements of the Plan; provided that in no event will the Plan term continue beyond 60 months
                from the date of entry of the Order Confirming Plan. See Paragraph J of the Additional Terms, Conditions and Provisions for
                additional information regarding Completion of Plan.



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                If neither or both of the above boxes is checked, then the Applicable Commitment Period and the Plan Length shall be 60 months
                from the date of entry of the Order Confirming Plan.

           B.   Debtor’s plan payment amount is $__5,500.00___ per month.

           C. Future Tax Refunds. See Paragraph A of the Additional Terms, Conditions and Provisions for additional information regarding Tax
              Refunds and Tax Returns.

                      FOR CASES ASSIGNED TO BAY CITY DIVISION: Check only one box. If none are checked or more than one box is
                      checked, paragraph 2 shall apply:

                      1.   □ Debtor’s Plan proposes a 100% dividend to unsecured creditors. Therefore, Debtor is not required to remit any future
                           tax refunds.

                      2.   □ Debtor’s Plan proposes less than a 100% dividend to unsecured creditors and Debtor’s Schedule I does not include a
                           pro-ration for anticipated tax refunds. Debtor will remit 50% of all Federal and State Tax Refunds that Debtor receives
                           or is entitled to receive after commencement of the case.

                      3.   □ Debtor’s Plan proposes less than a 100% dividend to unsecured creditors and Debtor’s Schedule I includes a pro-
                           ration for anticipated Federal Tax Refunds. Debtor will remit 100% of all Federal and State Tax Refunds that Debtor
                           receives or is entitled to receive after commencement of the case to the extent the refund exceeds the sum of twelve
                           times the amount of the Federal and StateTax Refund pro-ration shown in Schedule I.


                      FOR CASES ASSIGNED TO DETROIT DIVISION: Check only one box. If none are checked or more than one box is
                      checked, paragraph 2 shall apply:

                      1.   □ Debtor’s Plan proposes a 100% dividend to unsecured creditors. Therefore, Debtor is not required to remit any future
                           tax refunds.

                      2.   ■ Debtor’s Plan proposes less than a 100% dividend to unsecured creditors and Debtor’s Schedule I does not include a
                           pro-ration for anticipated tax refunds. Debtor will remit 100% of all Federal Tax Refunds that Debtor receives or is
                           entitled to receive after commencement of the case.

                      3.   □ Debtor’s Plan proposes less than a 100% dividend to unsecured creditors and Debtor’s Schedule I includes a pro-
                           ration for anticipated Federal Tax Refunds. Debtor will remit 100% of all Federal Tax Refunds that Debtor receives or is
                           entitled to receive after commencement of the case to the extent the refund exceeds the sum of twelve times the
                           amount of the Federal Tax Refund pro-ration shown in Schedule I.

                      FOR CASES ASSIGNED TO FLINT DIVISION: Check only one box. If none are checked or more than one box is checked,
                      paragraph 2 shall apply:

                      1.   □ Debtor’s Plan proposes a 100% dividend to unsecured creditors. Therefore, Debtor is not required to remit any future
                           tax refunds.

                      2.   □ Debtor’s Plan proposes less than a 100% dividend to unsecured creditors and Debtor’s Schedule I does not include a
                           pro-ration for anticipated tax refunds. Debtor will remit 100% of all Federal Tax Refunds that Debtor receives or is
                           entitled to receive after commencement of the case.

                      3.   □ Debtor’s Plan proposes less than a 100% dividend to unsecured creditors and Debtor’s Schedule I includes a pro-
                           ration for anticipated Federal Tax Refunds. Debtor is not required to remit Federal Tax Refunds in excess of the
                           amount of the proration shown on Schedule I.

           D. □ if the box to the immediate left is "checked", the debtor acknowledges that debtor is not eligible for a discharge pursuant to 11
              USC §1328.

                □ if the box to the immediate left is "checked", the joint debtor acknowledges that joint debtor is not eligible for a discharge



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                pursuant to 11 USC §1328.

           E.   □ if the box to the immediate left is "checked", the debtor or joint debtor is self-employed AND incurs trade credit in the production
                of income from such employment. Debtor shall comply with the requirements of Title 11, United States Code, and all applicable
                Local Bankruptcy Rules regarding operation of the business and duties imposed upon the debtor.

III.       DESIGNATION AND TREATMENT OF CLASSES OF CLAIMS: See Paragraph F of the Additional Terms, Conditions and Provisions
           for additional information regarding the order in which claims are to be paid.

           A. CLASS ONE – TRUSTEE FEES as determined by statute.

           B. CLASS TWO – ADMINISTRATIVE CLAIMS, INCLUDING ATTORNEYS FEES AND COSTS:

                      1. PRE-CONFIRMATION ATTORNEY FEES: At confirmation of the Plan, Counsel shall elect to either:
                          a. In lieu of filing a separate fee application pursuant to 11 USC §327 and §330, accept the sum of $             for
                             services rendered plus $_____ for costs advanced by Counsel, for total Attorney Fees and Costs of $______
                             through the Effective Date of the Plan. The total Attorney Fees and Costs less the sum of paid to Counsel prior to
                             the commencement of this case as reflected in the Rule 2016(b) Statement leaving a net balance due of
                             $________, will be paid as an Administrative Expense Claim; or
                          b. Request an award of compensation for services rendered and recovery of costs advanced by filing a separate
                             Application for Compensation for services rendered up through the date of entry of the Order Confirming Plan
                             pursuant to 11 USC §327 and §330. If Counsel elects to file a fee application pursuant to this sub-paragraph, the
                             Trustee shall escrow $_4,000.00__ for this purpose. See Paragraph B of the Additional Terms, Conditions and
                             Provisions for additional information.

                      2.   POST-CONFIRMATION ATTORNEY FEES: See Paragraph D of the Additional Terms, Conditions and Provisions for
                           additional information.

                      3.   RETENTION OF OTHER PROFESSIONALS FOR POST-PETITION SERVICES: Debtor □ has retained or □ intends
                           to retain the services of __________________(name of person to be retained) as ____________ (capacity or purpose
                           for retention) to perform professional services post-petition with fees and expenses of the professional to be paid as an
                           Administrative Expense. See Paragraph C of the Additional Terms, Conditions and Provisions for additional information.

                      4.   OTHER ADMINISTRATIVE EXPENSE CLAIMS: Any administrative expense claims approved by Order of Court
                           pursuant to 11 USC §503 shall be paid as a Class Two administrative claim. See Paragraph E of the Additional Terms,
                           Conditions and Provisions for additional information.


           C. CLASS THREE – SECURED CLAIMS TO BE STRIPPED FROM THE COLLATERAL AND TREATED AS UNSECURED CLAIMS
              TO BE PAID BY TRUSTEE. If the Debtor and the Lienholder agree to the lien strip, the Debtor and Lienholder shall file a
              Stipulation in the bankruptcy case and submit a proposed Order accomplishing the lien strip. If the Debtor does not have the
              agreement of the Lienholder, then Debtor shall timely file an Adversary Proceeding as required by the Administrative Orders,
              Guidelines and Procedures promulgated by the Bankruptcy Court for the Eastern District of Michigan. See Paragraph G and
              Paragraph N of the Additional Terms, Conditions and Provisions for additional information.


                   Creditor                                                                   Collateral
World Wide Financial Services, Inc.*                     Personal Residence/893 Keaton Drive, Troy, MI 48098*




*LIEN STRIPPED BY ORDER OF THE COURT ON JULY 17, 2013, IN ADV. PRO. CASE NO. 13-04666-MBM.




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                D. CLASS FOUR - SECURED CLAIMS ON WHICH THE LAST CONTRACTUAL PAYMENT IS DUE BEYOND THE LENGTH OF
                   THE PLAN. 11 USC §1322(b)(5).

                       1.   Continuing Payments that come due on and after the date of the Order for Relief (See Paragraph P, Paragraph L
                            and Paragraph EE of the Additional Terms, Conditions and Provisions for additional information):

                                                                                                                                    Direct, Via Trustee or
                Creditor                                  Collateral                                    Monthly Payment                 Surrendered
                                         Personal Residence/893 Keaton Drive, Troy, MI
  Ocwen Loan Servicing, LLC                                        48098                                    $2,389.48*                  Via Trustee


* Per Order Allowing Debtor to Enter into Trial Mortgage Loan Modification entered on 10/21/13 (Docket No. 30).

                       2. Pre-Petition Arrearages to be paid by Trustee: Those amounts which were due as of the filing of the Order for
                       Relief:

                                                                                                          Estimated Average          Months to Cure From
                Creditor                              Collateral                     Arrears Amount        Monthly Payment            Confirmation Date
N/A*


* Per Order Allowing Debtor to Enter into Trial Mortgage Loan Modification entered on 10/21/13 (Docket No. 30).

           E.     CLASS FIVE - SECURED CLAIMS ON WHICH THE LAST PAYMENT WILL BECOME DUE WITHIN THE PLAN DURATION. 11
                  USC §1322(c)(2). (See Paragraph H, Paragraph L and Paragraph O of the Additional Terms, Conditions and Provisions for
                  additional information):

                  1.   Creditors to be paid Equal Monthly Payments, 11 USC §1325(a)(5)(B):

                                                                                                        Total to be
                                                Indicate if                            Interest rate        paid
                                               modified or         Market value of       (Present        Including                            Direct or Via
          Creditor/Collateral                  surrendered           collateral        Value Rate)        Interest     Monthly Payment          Trustee
IRS/P.O. Box 7346/Phildelphia, PA
19101-7346                                  Modified               $10,626.72         n/a              $10,626.72      $177.12                Via Trustee
City of Troy Water Dept./
c/o Susan Lancaster, Esq./500 W.                                                                                                              Via Trustee
Big Beaver Rd./Troy, MI 48084               Modified               $837.19            n/a              $837.19         $13.96




                  2.   Creditors not to be paid Equal Monthly Payments, 11 USC §1325(a)(5)(A):

                                        Indicate if                                                                              Estimated
                                       "crammed",                                      Interest rate                              Average
                                       modified or            Market value of            (Present        Total to be paid         Monthly     Direct or Via
       Creditor/Collateral             surrendered              collateral             Value Rate)      including interest       Payment        Trustee
N/A



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           F.    CLASS SIX – EXECUTORY CONTRACTS AND/OR UNEXPIRED LEASES. 11 USC §§365, 1322(b)(7): – Debtor assumes the
                 executory contracts and unexpired leases listed in subparagraph 1. (See Paragraph K of the Additional Terms, Conditions
                 and Provisions for additional information):

                 1.   Continuing Lease/Contract Payments:

                                                                                                   Monthly      Lease/Contract       Direct or Via
             Creditor                                         Property                             Payment      expiration date        Trustee
Gage Leasing Company/7155
Orchard Lake Rd./#300/West
                                                                                                                                     Direct
Bloomfield, MI 48322                      2011 Chevy Malibu                                   $350.00        5/6/2016



                 2.   Pre-petition Arrearages on Assumed Executory Contracts and Leases (to be paid by Trustee):

                                                                                               Estimated Average         Months to Cure From
             Creditor                             Property                   Arrears Amount     Monthly Payment           Confirmation Date
N/A



                 3.   Debtor rejects the executory contracts and unexpired leases listed in this subparagraph 3. Any unexpired lease or
                      executory contract that is neither expressly assumed in Class 6.1 above or expressly rejected below shall be
                      deemed rejected as of the date of confirmation of debtor’s chapter 13 plan to the same extent as if that unexpired
                      lease or executory contract was listed below. (See Paragraph K of the Additional Terms, Conditions and Provisions for
                      additional information):

                Creditor                                                                Property
N/A



           G. CLASS SEVEN – PRIORITY UNSECURED CLAIMS. 11 USC §§507, 1322(a)(2).

                 1.   Domestic Support Obligations: Continuing Payments that come due on and after the date of the Order for Relief:

                               Creditor                              Monthly Payment                         Direct or Via Trustee
                                 N/A



                 2.   Domestic Support Obligations: Pre-Petition Arrearages due as of the filing of the Order for Relief:

                                                                                        Estimated Average Monthly
                           Creditor                            Arrears Amount                   Payment                  Direct or Via Trustee
N/A




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                 3.   All Other Priority Unsecured Claims [11 U.S.C. §1322(a)(2)]

               Creditor                                           Amount                                            Direct or via Trustee
IRS/P.O. Box 7346/Phildelphia, PA
19101-7346                                     $7,618.89                                          Via Trustee
Michigan Department of
Treasury/Dept. 77437/PO Box
77000/Detroit, MI 48277                        $1,174.65                                          Via Trustee



           H. CLASS EIGHT – SEPARATELY CLASSIFIED UNSECURED CLAIMS. 11 USC §1322(b)(1): (To be paid by Trustee): (See
                       Paragraph M of the Additional Terms, Conditions and Provisions for additional information):

                                                Interest
          Creditor                    Amount      Rate                                     Reason for Special Treatment

N/A

           I. CLASS NINE - GENERAL UNSECURED CLAIMS (to be paid by Trustee): – See Paragraph N of the Additional Terms, Conditions
                         and Provisions for additional information.

                      ■    This Plan shall provide a total sum for distribution to creditors holding Class 9 General Unsecured claims in an amount
                           that is not less than the Amount Available in Chapter 7 shown on Attachment 1, Liquidation Analysis and Statement of
                           Value of Encumbered Property (the “Unsecured Base Amount”). This Plan shall provide either (i) the Unsecured Base
                           Amount; or (ii) will continue for the full Plan Length as indicated in Paragraph II.A of this Plan, which ever yields the
                           greater payment to Class 9 Unsecured Creditors. See Attachment 2, Chapter 13 Model Worksheet, Line 8, for
                           additional information concerning funds estimated to be available for payment to Class 9 Unsecured Creditors.

                      □    This Plan shall provide a dividend to holders of Class 9 General Unsecured Claims equal to 100% of allowed claims.

                      If neither box is checked or if both boxes are checked, then the plan shall pay the Unsecured Base Amount.

IV.        OTHER PROVISIONS:

           A.         □ if the box to the immediate left is "checked", creditors holding claims in Class Seven, Eight and Nine shall receive interest
                      on their allowed claims at the rate of ____% per annum as required by 11 USC §1325(a)(4).

           B.    Insert as necessary.

/s/ Jason P. Smalarz                                                                /s/ Ian S. Kerr
JASON P. SMALARZ (P71042)                                                          Ian S. Kerr - Debtor
GOLD, LANGE & MAJOROS, P.C.
Attorney for Debtors
24901 Northwestern Hwy., Ste. 444________________________
Street Address
Southfield, MI 48075___________________________________                            /s/ Heather A. Kerr
City, State and Zip Code                                                           Heather A. Kerr - Joint Debtor
jsmalarz@glmpc.com________________________________
E-Mail Address
(248) 350-8220                                                                     10/30/2013
Phone Number                                                                       Date




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                                                                                    ATTACHMENT 1
                              LIQUIDATION ANALYSIS AND STATEMENT OF VALUE OF ENCUMBERED PROPERTY:

                                                                                                                              DEBTOR'S
                                                          FAIR MARKET                                                         SHARE OF                        EXEMPT            NON-EXEMPT
        TYPE OF PROPERTY                                     VALUE                               LIENS                         EQUITY                         AMOUNT              AMOUNT
      PERSONAL RESIDENCE                                              $250,000                         $359,755                                  $0                   $34,450                $0
       893 Keaton Dr., Troy, MI
     REAL ESTATE OTHER THAN
                                                                               N/A
      PERSONAL RESIDENCE
      HHG/PERSONAL EFFECTS                                                $9,400                                  $0                       $9,400                     $9,400                 $0

                JEWELRY                                                   $3,000                                  $0                       $3,000                     $3,000                 $0

       CASH/BANK ACCOUNTS                                                    $870                                 $0                         $870                       $870                 $0

                VEHICLES                                                  $5,000                                  $0                       $5,000                     $5,000                 $0
 401(K) AND OTHER RETIREMENT                                             $17,802                                  $0                      $17,802                     $17,802                $0
           ACCOUNTS
OTHER LIQUIDATED DEBTS OWING                                                     $0                               $0                             $0                       $0                 $0
    DEBTORS INCLUDING TAX
            REFUND
            ANIMALS                                                              $3                               $0                             $3                       $3                 $0
        TERM LIFE AND OTHER                                                      $2                               $0                             $2                       $2                 $0
            INSURANCE
                PENSIONS                                                         $2                               $0                             $2                       $2                 $0

          GARNISHED FUNDS                                                  $3,412                                 $0                        $3,412                     $3,412                $0



                       Amount available upon liquidation ............................................................................................             $                      0.00

                       Less administrative expenses and costs ..................................................................................                  $                      0.00

                       Less priority claims ...................................................................................................................   $                  9,025.00

                       Amount Available in Chapter 7 .................................................................................................            $                      0.00




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                                                                     ATTACHMENT 2
                                                      CHAPTER 13 MODEL WORKSHEET
                                                  LOCAL BANKRUPTCY RULE 3015-1(B)(2) E.D.M.

1.         Proposed length of Plan:       ___60____ months

2.         Initial Plan Payment:
           $ 5,500.00 per month x ____60____ months =                 $ 330,000       (subtotal)



3.         Balance on Hand with Trustee:                              $ 12,077.57* (subtotal)

4.         Lump Sum Payments                                     = $_________ (subtotal)

5.         Total to be paid into Plan (total of lines 2 through 4)                                  $ 342,077.57

6.         Estimated Disbursements other than to Class 9 General Unsecured Creditors

     a.    Estimated Trustee Fees                                     $ 22,300___

     b.    Estimated Attorney Fees and costs
           through confirmation of plan                               $ 10,000____

     c.    Estimated Attorney Fees and costs
           Post-confirmation through duration of Plan                 $ 10,000___

     d.    Estimated Fees of Other Professionals                      $ 0_

     e.    Total mortgage and other
           continuing secured debt payments                           $ 143,368.80_

     f.    Total non-continuing secured
           debt payments (including interest)                         $ 11,463.91_

     g.    Total Priority Claims                                      $ 8,793.54_

     h.    Total arrearage claims                                     $ 0_

7.         Total Disbursements other than to Class 9 General Unsecured Creditors
           (Total of lines 6.a through 6.h)                                                         $ 205,926.25_

8.         Funds estimated to be available for Class 9 General Unsecured Creditors
           (Line 5 minus Line 7)                                                                    $ 136,151.32_

9.         Estimated dividend to Class 9 General Unsecured Creditors
           in Chapter 7 proceeding (see liquidation analysis on Page 6)                             $________________

COMMENTS: * Balance on hand with Trustee was determined by subtracting the amount the Debtors have requested the Trustee
refund them in order to repair their roof ($6,850.00) from the total balance on hand as of October 30, 2013 ($18,927.57).




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                                                    V. ADDITONAL TERMS, CONDITIONS AND PROVISIONS

                                                 THE FOLLOWING PROVISIONS ARE APPLICABLE TO ALL
                                              CHAPTER 13 CASES FILED IN THE UNITED STATES BANKRUPTCY
                                                 COURT FOR THE EASTERN DISTRICT OF MICHIGAN FILED
                                                            ON OR AFTER JANUARY 1, 2013




A.         DEBTOR’S OBLIGATION TO REMIT TAX REFUNDS: Debtor shall not alter any withholding deductions/exemptions without Court
           approval. If the Internal Revenue Service or any State taxing authority remits to the Trustee any sum which the Debtor is not required
           to remit pursuant to this Plan, then upon written request of the Debtor and concurrence of the Trustee, the Trustee shall be authorized
           to refund those sums to the Debtor from funds first available without further motion, notice or Order of Court. The Trustee shall not be
           required to recoup or recover funds disbursed to creditors prior to receipt of the Debtor’s written request.

           If Debtor is married and Debtor’s spouse is not a joint-debtor in this case, Debtor’s Tax Refund(s) for any calendar year shall be 50% of
           the aggregate net Tax Refunds received by Debtor and Debtor’s Non-filing spouse, regardless of whether Debtor and spouse file a
           joint tax return or file separate tax returns.

B.         ALLOWANCE AND PAYMENT OF PRE-CONFIRMATION ATTORNEY FEES: If Class 2.1 of the Plan indicates that Counsel intends
           to file a Separate Application for compensation for services rendered up through the date of entry of the Order Confirming Plan
           pursuant to 11 USC §327 and §330, the Trustee shall withhold the amount designated in Class 2.1 from funds remaining after payment
           of claims required to be paid prior to attorney fees pending further Order of Court.
C.         RETENTION AND COMPENSATION OF OTHER PROFESSIONALS FOR POST-PETITION PRE-CONFIRMATION SERVICES: If
           Class 2.3 indicates that Debtor has retained or intends to retain the services of any Professional (as that term is defined in 11 USC
           §327) to perform professional services after the commencement of this case, Debtor will file a timely Application to Employ
           Professional Person stating the identity of the person to be retained and the capacity or purpose for retention, accompanied by a
           Certification of Disinterestedness signed by the Professional and obtain Court permission to retain the Professional. The Professional
           may seek compensation in an amount not to exceed $400.00 by filing a Proof of Claim designated as an Administrative Expense
           without further notice, hearing or Order of Court. If the Professional seeks compensation in excess of $400.00, the Professional shall
           file an Application for Compensation for services rendered pursuant to 11 USC §327.
D.         POST-CONFIRMATION ATTORNEY FEES & COSTS BY SEPARATE APPLICATION: Counsel reserves the right to file Applications
           for compensation for services rendered subsequent to the Confirmation of this Plan. Upon entry of an Order Awarding Post-
           Confirmation Attorney Fees, if Debtor’s Plan will not complete within 60 months of the date of the Order Confirming Plan, all unpaid
           Attorney fees and costs shall be paid by the Trustee only after a plan modification that allows Debtor’s Plan to complete within 60
           months from the date of the Order Confirming Plan is approved with notice as is appropriate to parties in interest.
E.         PAYMENT OF ADMINISTRATIVE EXPENSE CLAIMS: Administrative Expense Claims as defined in 11 USC §503, other than those
           claims provided for in Paragraphs B, C and D of these Additional Terms, Conditions and Provisions, will be deemed allowed and will be
           paid only upon entry of a specific Order of this Court determining the allowance and amount of that claim.
F.         ORDER OF PAYMENT OF CLAIMS: All claims for which this Plan proposes payment through the Trustee shall be paid in the
           following order to the extent that funds are available:
                      Level 1:        Class 1
                      Level 2:        Class 5.1 and 6.1
                      Level 3:        Class 2.1 and 2.3
                      Level 4:        Class 2.2 and 2.4
                      Level 5:        Classes 4.1
                      Level 6:        Classes 4.2, 5.2 and 6.2
                      Level 7:        Class 7
                      Level 8:        Classes 3, 8 and 9.

           Each level shall be paid as provided in this Plan before any disbursements are made to any subordinate class. If there are not
           sufficient funds to pay all claims within a level, then the claims in that level shall be paid pro rata.




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G.         SECURED CLAIMS TO BE STRIPPED FROM THE COLLATERAL AND TREATED AS UNSECURED: Claims for which the creditor
           holds a mortgage or security interest but where the Bankruptcy Court has entered a Final Judgment or Order declaring that upon
           completion of this Plan the secured claim will be “stripped” from the Property. These claims will be paid as a General Unsecured
           Creditor as provided in Class 9 of the Plan.

H.         CLASS 5.1 AND CLASS 6.1 CREDITORS SPECIFIED TO RECEIVE EQUAL MONTHLY PAYMENTS: Creditors identified in Class
           5.1 or Class 6.1 will receive Equal Monthly Payments to the extent funds are available at the date of each disbursement. If more than
           one creditor is scheduled in Class 5.1 and Class 6.1 and the funds available in any disbursement are insufficient to pay the full Equal
           Monthly Payments to all of the listed creditors, payments shall be made on a pro rata basis determined by the ratio of the Equal
           Monthly Payment specified to each creditor to the total amount of Equal Monthly Payments to all creditors scheduled in Class 5.1 and
           Class 6.1. The amount of the Equal Monthly Payment to any creditor shall be the amount stated in Class 5.1 or Class 6.1 as may be
           applicable; provided that if any creditor identified in Class 5.1 or Class 6.1 files a Proof of Claim that specifies a monthly payment
           amount at variance with the Equal Monthly Payment amount set forth in the Plan, the amount of the monthly payment specified in the
           Proof of Claim shall control and shall become the Equal Monthly Payment for that creditor.
           The monthly post-confirmation disbursement to any creditor designated in Class 5.1 or Class 6.1 will not exceed the Equal Monthly
           Payment amount for that creditor for the month in which disbursement is being made plus any previously unpaid Equal Monthly
           Payments accruing before the date of disbursement.

I.         APPLICATION OF DISBURSEMENTS BY CREDITORS: Creditors shall apply all disbursements under the Plan only in the manner
           consistent with the terms of the Plan and to the account(s) or obligation(s) as designated on the voucher or check provided to the
           Creditor with each disbursement.

J.         COMPLETION OF PLAN: For purposes of 11 USC §1328, the Debtor shall be deemed to have completed all payments under the
           Plan:
                1. Upon the expiration of the Plan Length as defined in Paragraph II.A of the Plan commencing on the date of entry of the Order
                   Confirming Plan; and
                2. Debtor has remitted all Plan payments (as defined in Paragraph II.A and II.B of the Plan) coming due after the date of entry
                   of the Order Confirming Plan; and
                3. Debtor has remitted all Federal Income Tax Refunds as required by Paragraph II.C of the Plan and Paragraph A of these
                   Additional Terms, Conditions and Provisions; and
                4. Debtor has remitted a sum sufficient to pay all allowed claims as amended and/or supplemented as provided in the Plan.

K.         EXECUTORY CONTRACTS AND/OR UNEXPIRED LEASES:
              1. Any executory contract or unexpired lease not expressly assumed in Class 6.1 or in the Order Confirming Plan shall be
                 deemed rejected effective as of the Effective Date of this Plan.
                2.    Upon rejection of any Executory Contract or Unexpired Lease, the property and debtor’s interest in the rejected executory
                      contract or unexpired lease will no longer be property of the estate and the stay under 11 USC §362(a) and the co-debtor
                      stay under 11 USC §1301 shall automatically terminate as to such property. Any claims arising from the rejection of an
                      executory contract or unexpired lease shall be treated as a general unsecured claim in Class Nine, subject to further Order of
                      Court.

                3.    For all assumed executory contracts and unexpired leases, confirmation of this Plan shall constitute a finding that this Plan
                      complies with all requirements for assumption of the executory contracts and unexpired leases being assumed, including all
                      requirements set forth in 11 USC §365(b).

                4.    Upon the termination of the Lease (whether as a result of the expiration of the contractual lease term, repossession of the
                      property which is the subject of the Lease, or otherwise), the Lessor shall have the right to file a Supplemental Claim for any
                      damages or charges permitted under or pursuant to the Lease.

                5.    If Class 6.1 provides for the Continuing Lease/Contract Payments to be made by the Trustee, the Supplemental Claim as
                      filed and allowed shall be paid by the Trustee over the remaining term of the Plan.
                6.    If Class 6.1 provides for the Continuing Lease Payments to be made directly by the Debtor to the Lessor, the Supplemental
                      Claim as filed and allowed shall be paid directly by the Debtor to the Creditor over the remaining term of the Plan. If there is a
                      balance outstanding on the Supplemental Claim as of the completion of Debtor’s confirmed Chapter 13 Plan, this balance
                      shall not prevent or preclude the entry of a discharge in this case; instead, this balance shall be deemed non-dischargeable


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                      and Debtor shall be responsible for payment of the remaining balance of the Supplemental Claim following the entry of a
                      Discharge.

L.         SECURED CLAIMS – POST-PETITION FEES, COSTS AND CHARGES:
              1. Any Supplement to Claim that is filed with the Court as to which there is no objection filed or as to which any objection has
                 been overruled, shall be deemed allowed.

                2.    If Class 4.1, 5.1 or 5.2 provides for the Creditor’s Secured Claim to be paid by the Trustee, the Supplement to Claim as filed
                      and allowed shall be paid by the Trustee over the remaining term of the Plan.
                3.    If Class 4.1, 5.1 or 5.2 provides for the Creditor’s Secured Claim to be paid directly by the Debtor to the Creditor, the
                      Supplement to Claim as filed and allowed shall be paid directly by the Debtor to the Creditor before completion of the Plan. If
                      there is a balance outstanding on the Supplement to Claim as of the completion of Debtor’s confirmed Chapter 13 Plan, this
                      balance shall not prevent or preclude the entry of a discharge in this case; instead, any unpaid balance shall be non-
                      dischargeable.

M.         SEPARATELY CLASSIFIED UNSECURED CLAIMS: Claims classified as “Separately Classified Unsecured Claims” are unsecured
           claims that qualify for discriminatory and preferred treatment pursuant to 11 USC §1322(b)(1). The basis for separate classification is
           specified in Paragraph III.H of the Plan. Each Separately Classified Unsecured Claims shall receive payments that total 100% of the
           allowed amount of the claim plus interest if specified in Class Eight of the Plan. See also Paragraph F of the Additional Terms,
           Conditions and Provisions for additional information concerning the timing of payments to be made on these claims.

N.         GENERAL UNSECURED CREDITORS: Unless Class 9 of the Plan provides a dividend to holders of General Unsecured Claims
           equal to 100% of allowed claims, the Plan shall produce a total sum for distribution to General Unsecured Creditors (the “Unsecured
           Base Amount”). The Unsecured Base Amount shall be not less than the aggregate amount which creditors in this class would have
           received had the estate of the debtor been liquidated under Chapter 7 of Title 11, United States Code. See 11 U.S.C. §1325(a)(4).
           Each holder of a duly filed and allowed General Unsecured Claim shall receive the holder’s Pro Rata share of the Unsecured Base
           Amount, based on the Creditor’s Claim as a fraction of the total General Unsecured Claims duly filed and allowed. The Pro Rata
           dividend for each holder of an allowed unsecured claim will be calculated by the Trustee upon review of allowed claims.
           This Plan shall provide either the total Unsecured Base Amount or shall continue for the Plan Length as stated in Paragraph II.A of the
           Plan, whichever will offer the greater dividend to general unsecured creditors.
O.         VESTING, POSSESSION OF ESTATE PROPERTY AND LIEN RETENTION: Upon the Effective Date of the Plan, all property of the
           estate shall vest in the debtor and shall cease to be property of the estate. The debtor shall remain in possession of all property during
           the pendency of this case unless specifically provided herein, and shall not seek to sell, transfer or otherwise dispose of such property
           (except in the ordinary course of debtor’s business) without prior Court approval.

P.         SURRENDER OF COLLATERAL: Those claims that are treated pursuant to 11 USC §1325(a)(5)(C) (surrender of collateral) are so
           designated in this Plan. Upon confirmation, the Automatic Stay and Co-Debtor Stay is lifted as to the collateral and any creditor to
           whom the property is surrendered and the collateral shall no longer constitute property of the estate. No disbursements shall be made
           by the Trustee to any creditor whose claim is secured by the collateral being surrendered unless the holder of such claim files a Proof
           of Claim (or Amended Proof of Claim) after the Effective Date of the Plan setting forth the amount of any deficiency remaining after
           disposition of the collateral. Any allowed deficiency claim shall be paid as a general unsecured claim in Class 9 of the Plan. See
           Federal Rule of Bankruptcy Procedure 3002.1.

Q.         PROHIBITION AGAINST INCURRING POST-PETITION DEBT: While this case is pending, the debtor shall not incur a debt in excess
           of $2,000.00 without first obtaining approval of either this Court or of the Chapter 13 Trustee. If the Chapter 13 Trustee stipulates to
           entry of an Order allowing Debtor to incur post-petition Debt, Debtor shall be permitted to file the stipulation signed by the Trustee and
           to submit an Order to the Court on an ex parte basis without notice to Creditors or other parties in interest.

R.         UNSCHEDULED CLAIMS: If an unscheduled proof of claim is filed, the Trustee is authorized to exercise sole discretion to classify the
           claim into one of the existing classes under this Plan and to schedule the claim for payment within that class, without prejudice to
           debtor’s right to object to the allowance of the claim and/or to modify the plan to provide a different treatment.




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S.         PROOFS OF CLAIM FILED AT VARIANCE WITH THE PLAN: In the event that a proof of claim is filed and allowed that is at variance
           with the provisions of this Plan, the following method is to be employed to resolve the conflict:
           1.         Regarding claims for which the Plan does not propose a "cramdown" or modification, the proof of claim shall supersede the
                      Plan as to the claim amount, percentage rate of interest, monthly payments, valuation of collateral and classification of the
                      claim.
           2.         As to claims for which the Plan proposes a "cramdown" or modification, the proof of claim governs only as to the claim
                      amount, but not valuation or any other contractual term.
           3.         If a proof of claim is filed that is at variance with this Plan or related schedules, the Trustee shall automatically treat that claim
                      as the holder indicated, unless provided otherwise in the confirmed Plan; these Additional Terms, Conditions and Provisions;
                      or by Order of Court.
           4.         As to claims specified in Class 3 (Secured Claims to be Stripped from the Collateral), the Proof of Claim shall control only as
                      to the allowed amount of the claim. See also Paragraph G of the Additional Terms, Conditions and Provisions for additional
                      information concerning payments to be made on these claims.

T.         TAX RETURNS AND TAX SET-OFFS: All tax returns which have become due prior to the filing of the Plan have been filed. The
           Internal Revenue Service and the United States Department of Treasury are prohibited from setting off against post-petition Tax
           Refunds for payment of pre-petition tax obligations.

U.         DEBTOR DUTY TO MAINTAIN INSURANCE – REMEDY FOR FAILURE TO MAINTAIN INSURANCE: Debtor shall maintain all
           insurance required by law and contract upon property of the estate and the debtor's property. After confirmation of this Plan, if the
           debtor fails to maintain insurance as required by law or contract, any party in interest may submit a notice of default, served on debtor,
           debtor’s counsel and the Chapter 13 Trustee, permitting 10 days from service of the notice in which to cure the default. If the default
           is not cured within the time permitted, the party in interest may submit an Order Granting Relief from the Automatic Stay as to the
           collateral to the Court along with an affidavit attesting to the debtor’s failure to cure, and the stay may thereafter be lifted without further
           motion, notice or hearing.

V.         SECURED CREDITORS, LESSORS AND PARTIES TO EXECUTORY CONTRACTS UPON ENTRY OF ORDER LIFTING
           AUTOMATIC STAY: Any secured creditor and any party to an assumed executory contract or unexpired lease as to whom the
           automatic stay is lifted shall not receive any further disbursements until a proof of claim for the balance remaining after liquidation of
           the collateral is filed.

W.         PROVIDING FUTURE TAX RETURNS TO TRUSTEE: Debtor shall timely file each Federal Income Tax Return required to be filed
           under applicable law during the pendency of this case, and shall provide to the Trustee a copy of each Return at the same time the
           Return is filed with the taxing authority.

X.         DEADLINES IN EVENT OF CONVERSION: In the event of conversion of this case to a case under Chapter 7 of the United States
           Bankruptcy Code, the rights of the Chapter 7 Trustee and all creditors (including but not limited to the right to object to exemptions and
           the right to object to discharge pursuant to 11 USC §727 and/or dischargeability pursuant to 11 USC §523) will be determined as if the
           Petition was filed on the date of conversion. The date of the Order converting this case to one under Chapter 7 will be treated as the
           date of the Order For Relief and all applicable deadlines shall be determined as if the post-conversion Meeting of Creditors pursuant to
           11 USC §341 was the initial Meeting of Creditors.

Y.         OBJECTIONS TO PROOFS OF CLAIM: Any party-in-interest shall have the right to object to Proofs of Claim. Confirmation of this
           Plan shall not constitute a waiver of any objection and shall not constitute or have any res judicata or collateral estoppel effect on or
           against any objection to Proof of Claim. If any objection to Proof of Claim is filed and sustained, in whole or in part, after the Trustee
           has begun making disbursements under this plan as confirmed, Trustee shall have no obligation or duty to recoup any payments or
           disbursements made to the creditor whose Proof of Claim was the subject of the objection.

Z.         CREDITOR’S AUTHORIZATION TO CONTACT DEBTOR: Notwithstanding the provisions of the Automatic Stay and Co-Debtor Stay,
           creditors holding claims in Classes 4 and 5 for which the Debtor proposes to retain the collateral and parties to any assumed unexpired
           lease or executory contract in Class 6 may contact Debtor for purposes of sending periodic statements and annual or periodic
           summaries of accounts including but not limited to account reconciliations pursuant to the Real Estate Settlement Procedures Act.

AA.        IDENTITY OF DISBURSING AGENT: All claims in all classes of creditors shall be paid by the Trustee as Disbursing Agent except
           those claims which are specified to be paid directly by either the Debtor or a third party, in which event the Debtor or third party making


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           those payments shall be the Disbursing Agent for those claims.

BB.        SPECIAL PROVISIONS APPLICABLE TO GOVERNMENTAL UNITS RESPONSIBLE FOR ENFORCING DOMESTIC SUPPORT
           OBLIGTATIONS: Notwithstanding the provisions of 11 U.S.C. §362 and §1327, the Automatic Stay is modified to permit any
           governmental unit or agency responsible for enforcing a domestic support obligation to send notices, to take other actions to the extent
           not inconsistent with the terms of the Plan, and to collect domestic support obligations from property that is not property of the estate.

CC.        PRE- AND POST-PETITION LITIGATION AND CAUSES OF ACTION: Debtor and the Chapter 13 Trustee shall have concurrent
           standing to prosecute all Pre- and Post-Petition causes of action, including but not limited to actions arising under Title 11, United
           States Code. Any compromise or settlement of any litigation or cause of action shall be subject to the provisions of Federal Rule of
           Bankruptcy Procedure 9019. Any proceeds or damages recovered by or on behalf of the Debtor shall be retained pending Order of the
           Bankruptcy Court.

DD.        SUBSTANTIVE CONSOLIDATION OF JOINTLY FILED CASES: If this case has been filed jointly by a husband and wife pursuant to
           11 USC §302, entry of an Order Confirming Plan shall also constitute an Order for Substantive Consolidation of the debtors.

EE.        NON-APPLICABILITY OF FEDERAL RULE OF BANKRUPTCY PROCEDURE 3002.1: The requirements and provisions of Federal
           Rule of Bankruptcy Procedure 3002.1 shall not apply to any property that the Plan as confirmed surrenders to the Creditor as provided
           in 11 USC §1325(a)(5)(C); or to any property as to which the Automatic Stay is lifted for purposes of allowing the secured creditor to
           exercise rights and remedies pursuant to applicable State Law, regardless of whether the Order Lifting Automatic Stay is entered
           before or after entry of an Order Confirming the Plan.

FF.        TIME TO CURE PARAMOUNT: For any class of claims where the Months to Cure From Confirmation Date may be specified, if the
           Plan does not specify the number of months to cure, the Months to Cure From Confirmation Date shall be the Plan Length specified in
           Paragraph II.A of the Plan. For any class of claims or creditors for which the Plan specifies an Estimated Average Monthly Payment
           that is inconsistent with or contradicts the Months to Cure From Confirmation Date, the Months to Cure From Confirmation Date shall
           control. The Chapter 13 Trustee is authorized to make any changes to the amount of disbursements to the creditor to implement this
           provision.




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